Case 1:15-cr-00252-PKC-RML Document 1247 Filed 05/10/19 Page 1 of 1 PageID #: 20056
                                                         U.S. Department of Justice


                                                         United States Attorney
                                                         Eastern District of New York
   SPN:KTF                                               271 Cadman Plaza East
                                                         Brooklyn, New York 11201


                                                         May 10, 2019

   By ECF

   The Honorable Pamela K. Chen
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

                  Re:     United States v. Juan Ángel Napout, et al.
                          Criminal Docket No. 15-252 (S-2) (PKC) (RML)

   Dear Judge Chen:

                   The government respectfully writes to request that the Court unseal pages 3762
   through 3767 of the trial transcript in the above-captioned case to allow the parties to discuss
   these portions of the transcript in their appellate briefs and in oral argument before the Court of
   Appeals. These pages of the transcript were redacted during trial because they took place at
   sidebar. Because the trial is long over and the sidebar simply discussed an evidentiary matter,
   there is no basis for them to remain under seal. Counsel for defendants Napout and Marin
   consent to this request.

                                                         Respectfully submitted,

                                                         RICHARD P. DONOGHUE
                                                         United States Attorney

                                                 By:           /s/
                                                         Samuel P. Nitze
                                                         M. Kristin Mace
                                                         Keith D. Edelman
                                                         Kaitlin T. Farrell
                                                         Assistant U.S. Attorneys
                                                         (718) 254-7000

   cc:    Counsel of record (by ECF)
          Clerk of Court (PKC) (by ECF)
